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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In Re:                                                             Chapter 7

Frank Zarrello,                                                    Case No. 8-19-71403-845

                           Debtor.
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                                     Order Authorizing Retention of
                                    Weinberg, Gross & Pergament LLP
                                        as Attorneys for Trustee

                    Upon the application of Marc A. Pergament, Trustee of the above-referenced Debtor,

for an Order under 11 U.S.C. Section 327, Bankruptcy Rule 2014 and Eastern District of New York

Local Bankruptcy Rule 2014-1, authorizing the retention of Weinberg, Gross & Pergament LLP under

a general retainer as the Trustee’s counsel to represent him in this Chapter 7 case, and upon the

affidavit of Marc A. Pergament, Esq., a member of the law firm of Weinberg, Gross & Pergament

LLP, and it appearing that no notice of said application need be given and no hearing on said

application is necessary; and no opposition having been interposed; and it being represented in the

papers submitted in connection with the application that the firm of Weinberg, Gross & Pergament

LLP represents no interest adverse to the Debtor or his Estate in the matters upon which said firm of

attorneys is to be engaged and is a disinterested person under 11 U.S.C. Section 101, and that the

employment of said firm of attorneys is necessary and would be in the best interest of this Estate, it is

                    ORDERED, that the Trustee be, and he hereby is, authorized and empowered to

employ and retain the firm of Weinberg, Gross & Pergament LLP, as his counsel, to represent the

Trustee under a general retainer in the within proceeding under Chapter 7 of the Bankruptcy Code;

and it is further
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                ORDERED, that ten business days prior to any increases in Weinberg Gross &

Pergament LLP’s rates, Weinberg, Gross & Pergament LLP shall file a supplemental affidavit with

the Court setting forth the basis for the requested rate increase pursuant to 11 U.S.C. § 330(a)(3)(F).

Parties in interest, including the United States Trustee, retain all rights to object to or otherwise

respond to any rate increase on any and all grounds, including, but not limited to, the reasonableness

standard under 11 U.S.C. § 330. Supplemental affidavits are not required for rate increases effective

on or after the date the Trustee submits the Trustee´s Final Report to the United States Trustee. It is

further

                ORDERED, that no compensation or reimbursement of expenses shall be paid to

Weinberg, Gross & Pergament LLP for professional services rendered to the Trustee, except upon a

proper application and by further order of this Court following a hearing on notice pursuant to §§330

and 331 of the Bankruptcy Code, the Bankruptcy Rules, and the Local Rules.

No Objection
Office of the U.S. Trustee


By:       /S/ Stan Y. Yang 4/22/2019




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 Dated: April 22, 2019                                                  Louis A. Scarcella
        Central Islip, New York                                  United States Bankruptcy Judge

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